           Case 1:21-cr-00509-TSC Document 139 Filed 03/31/24 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         *
                                                 *
                   vs.                           *        Case No. 21-cr-00509-1 (TSC)
                                                 *
ANTONY VO,                                       *
         Defendant                               *
                                                 *

                                              ooOoo

NOTICE OF FILING EXHIBITS TO DEFENDANT’S MOTION FOR THE COURT TO
 ACCEPT MR. VO’S GUILTY PLEA TO A VIOLATION OF 40 U.S.C. § 5104(e)(2)(G)
   AND VACATE THE VERDICT OF GUILT ON THE REMAINING COUNTS

       Antony Vo, by his undersigned counsel, respectfully files the attached exhibits which were

referenced but not attached to his Motion for the Court to Accept Mr. Vo’s Guilty Plea to a Violation

of 40 U.S.C. § 5104(e)(2)(G) and Vacate the Verdict of Guilt on the Remaining Counts (ECF 138).

The attached exhibits are:

       •       Exhibit 1 – Plea Agreement and Statement of Offense, signed but not docketed; and

       •       Exhibit 2 – Final Jury Instructions provided to the Jury in the instant case.

                                                      Respectfully submitted,

                                                      /s/ Carmen D. Hernandez

                                                      Carmen D. Hernandez
                                                      Bar No. MD03366
                                                      7166 Mink Hollow Rd
                                                      Highland, MD 20777
                                                      (240) 472-3391
         Case 1:21-cr-00509-TSC Document 139 Filed 03/31/24 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that the instant notice was served on all counsel of record this 31st day of
March, 2024 on all counsel of record via ECF.



                                                             /s/

                                                      Carmen D. Hernandez




                                                 2
